                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

JENNA HUMPHERY and                                    )
JEREMY HUMPHERY,                                      )
                                                      )
       Plaintiffs,                                    )
                                                      )
v.                                                    )      Case No. 3:19-CV-00669
                                                      )
HART XPRESS, INC. and                                 )      JUDGE CAMPBELL
GARVIS GENE DIXON,                                    )      MAGISTRATE JUDGE BROWN
                                                      )
       Defendants.                                    )

                                  ANSWER TO COMPLAINT

       COME NOW the Defendant, Hart Xpress, Inc. and Garvis Gene Dixon, (hereinafter

referred to as “Answering Defendants”) and for answer to the Complaint filed herein against

them would respectfully show to the Court that:

       1.      Answering Defendants allege they are without knowledge or information

sufficient to form a belief as to the truth of any of the allegations concerning the residency and

status of the Plaintiffs as set forth in paragraph 1 of the Complaint and, therefore, deny same.

       2.      In response to paragraph 2 of the Complaint, Answering Defendants admits that

Defendant Hart owned the 2018 Kenworth tractor-trailer as described in the Complaint. Further,

Answering Defendants specifically deny that they were guilty of any act of negligence that either

caused or contributed to the accident described in the Complaint.

       3.      Answering Defendants admit that Hart Xpress, Inc. is a properly authorized

corporation within the state of Tennessee and that service of process is proper in this case as

alleged in paragraph 3 of the Complaint.

       4.      The allegations in paragraph 4 of the Complaint are admitted.



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       5.      The allegations in paragraph 5 concerning the residency and status of Defendant

Dixon are admitted.

       6.      Answering Defendants admit the allegations in paragraph 6 of the Complaint in so

far as Defendant Dixon was Defendant Hart’s employee, but deny that they are liable to the

Plaintiffs under any theory of law or fact.

       7.      Answering Defendants admit the allegations in paragraph 7 of the Complaint in so

far as Defendant Dixon was Defendant Hart’s employee.         Answering Defendants deny the

remaining allegations contained in paragraph 7 of the Complaint on the basis that they deny that

Defendant Dixon was negligent or that he caused or contributed to the accident described in the

Complaint.

       8.      Answering Defendants admit the allegations in paragraph 8 of the Complaint in so

far as Defendant Dixon was Defendant Hart’s employee. Answering Defendants deny the

remaining allegations contained in paragraph 8 of the Complaint on the basis that they deny that

Defendant Dixon was negligent or that he caused or contributed to the accident described in the

Complaint.

       9.      Answering Defendants admit that jurisdiction is proper as alleged in paragraph 9

of the Complaint. However, Answering Defendants submit that they have removed this matter to

the United States District Court for the Middle District of Tennessee, Nashville Division

pursuant to 28 U.S.C. § 1446(a).

       10.     Answering Defendants admit that venue is proper as alleged in paragraph 10 of

the Complaint. However, Answering Defendants submit that they have removed this matter to

the United States District Court for the Middle District of Tennessee, Nashville Division

pursuant to 28 U.S.C. § 1446(a).



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       11.     Answering Defendants admit that the provisions of 49 CRF §§301-399, as

described in paragraph 11 of the Complaint, were in effect at the time of the alleged incident, but

deny that they violated any of those regulations.

       12.     Answering Defendants are without knowledge or information sufficient to form a

belief as to the truth of and of the allegations concerning the conduct of the Plaintiff, as set forth

in paragraph 12 of the Complaint and, therefore, deny same.

       13.     Answering Defendants admit the allegations as described in paragraph 13 of the

Complaint, but deny that Defendant Hart was negligent or that he caused or contributed to the

accident described in the Complaint.

       14.     The allegations in paragraph 14 of the Complaint are admitted.

       15.     The allegations in paragraph 15 of the Complaint are denied.

       16.     The allegations in paragraph 15 of the Complaint are denied.

       17.     The allegations in paragraph 17 of the Complaint are denied.

       18.     The allegations in paragraph 18 of the Complaint are denied.

       19.     The allegations in paragraph 19 of the Complaint are denied.

       20.     Answering Defendants admit the allegations as described in paragraph 20 of the

Complaint concerning ownership of the tractor-trailer but deny that they are liable to the

Plaintiffs under any theory of law or fact.

       21.     Answering Defendants admit that the provisions of 49 CRF §§301-399, as

described in paragraph 21 of the Complaint, were in effect at the time of the alleged incident, but

deny that they violated any of those regulations.




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       22.     Answering Defendants admit the allegations as described in paragraph 22 of the

Complaint, but deny that Defendant Hart was negligent or that he caused or contributed to the

accident described in the Complaint.

       23.     Answering Defendants deny that they were guilty of any negligence and

specifically and categorically deny that they were guilty of the specific acts of negligence

described in subparts (a) through (g) in paragraph 23 of the Complaint.

       24.     The allegations in paragraph 24 of the Complaint are denied.

       25.     Answering Defendants admit and acknowledge the risks associated with driving a

vehicle as set forth in paragraph 25 of the Complaint, but deny that they were guilty of

dishonoring any of those risks as alleged in subparts (a) through (f) in paragraph 25 of the

Complaint.

       26.     The allegations in paragraph 26 of the Complaint are denied.

       27.     The allegations in paragraph 27 of the Complaint are denied.

       28.     Answering Defendants deny that Defendant Dixon was guilty of any negligence

and specifically and categorically deny that he was guilty of the specific acts of negligence

described in subparts (a) through (e) in paragraph 28 of the Complaint.

       29.     Answering Defendants admit that the statutes of the state of Tennessee, as set

forth in paragraph 29 of the Complaint, were in full force and effect at all times described in the

Complaint but deny that Answering Defendants violated any of said statutes as described in

subparts (a) through (b) in paragraph 29 of the Complaint.

       30.     The allegations in paragraph 30 of the Complaint are denied.




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        31.       Answering Defendants are without knowledge or information sufficient to form a

belief as to the truth of any of the allegations concerning the Plaintiff Jenna Humphery’s injuries,

damages, and/or losses as described in paragraph 31 of the Complaint and, therefore, deny same.

        32.       Answering Defendants are without knowledge or information sufficient to form a

belief as to the truth of any of the allegations concerning the Plaintiff Jeremey Humphery’s

injuries, damages, and/or losses as described in paragraph 32 of the Complaint and, therefore,

deny same.

        33.       Answering Defendants are without knowledge or information sufficient to form a

belief as to the truth of any of the allegations concerning the Plaintiff Jeremey Humphery’s

injuries, damages, and/or losses as described in paragraph 33 of the Complaint and, therefore,

deny same.

        34.       Answering Defendants deny that they are liable to the Plaintiffs under any theory

of law or fact.

        35.       To the extent Plaintiffs’ prayer for relief requires a response, denied.

                                    AFFIRMATIVE DEFENSES

        1.        Any allegation in Plaintiffs’ Complaint not admitted, denied, explained, or

otherwise qualified is hereby denied.

        2.        Answering Defendants deny that the Plaintiffs are entitled to recover any sum of

money from them under any theory of recovery.

        3.        Answering Defendants deny that they acted negligently, recklessly, or

intentionally or that they proximately caused any injury to the Plaintiffs that otherwise would not

have occurred.




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        4.       Answering Defendants deny that they violated any law and regulation applicable

to them, and aver that they complied with industry standards at all times described in the

Complaint.

        5.       Answering Defendants deny that their allegedly wrongful acts or omissions were

a legal cause of the Plaintiffs’ alleged injuries and specifically asserts the defense of

independent, intervening, or superseding cause.

        6.       Answering Defendants assert the defense of comparative fault against the

Plaintiff.

        7.       Answering Defendants assert they are entitled to the caps on damages and other

protections under The Tennessee Civil Justice Act of 2011, specifically those found at Tenn.

Code Ann. § 29-39-101, et seq.

        8.       Defendant Dixon was faced with a sudden emergency and submits that, under the

circumstances, he acted as a reasonably careful and prudent person placed in the same or similar

situation.   As such, Answering Defendants submit that the sudden emergency doctrine, as

adopted in Tennessee, applies to the issues herein and limits and/or bars any potential recovery

of the Plaintiffs from the Answering Defendants.

        9.       Discovery is ongoing and incomplete and, therefore, Answering Defendants

reserve the right to amend this Answer as may be warranted by further discovery and

investigation.

        And now, having fully answered the Plaintiffs’ Complaint and each and every numbered

paragraph contained therein, Hart Xpress, Inc. and Garvis Gene Dixon pray that this cause be

dismissed and that they be allowed to go hence with their reasonable costs.




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       HART XPRESS, INC. AND GARVIS GENE DIXON DEMAND A JURY OF

TWELVE (12) TO TRY THE ISSUES HEREIN WHEN JOINED.



                                                       Respectfully submitted,

                                                       SHUTTLEWORTH PLLC


                                                       BY: _/s/ Brandi D. Randesi____________
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                                                       Attorneys for Defendants




                                 CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing has been filed with the Clerk of the Court
on this the 26th day of August, 2019, using the CM/ECF system which sent notification of this
filing to all ECF registered counsel of record via e-mail generated by the Court’s ECF system:

       Christopher V. Boiano
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                                                              /s/ Brandi D. Randesi




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